    6:20-md-02977-RJS-CMR Document 80 Filed in ED/OK on 05/06/21 Page 1 of 2



                         UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF OKLAHOMA

IN RE: BROILER CHICKEN
GROWER ANTITRUST LITIGATION                                    CHANGE OF ADDRESS
(NO. II)


                                                                 6:20-md-02977-RJS-CMR
                                                    CASE NUMBER: __________________________




  To the Clerk of this court and all parties of record:

         Please note my change of address as counsel in the above styled case for
                    X
  _____ plaintiff ____defendant                  __Tyson Foods, Inc., Tyson Chicken, Inc., Tyson Breeders,
                                 (name of party) _______________________________________________.
                                                  and Tyson Poultry, Inc.
                 s/ Rachel J. Adcox                            May 6, 2021
                  Signature                                                       Date

                   Rachel J. Adcox
                  _______________________________________________________
                   Print Name


                    Axinn, Veltrop & Harkrider LL P
                  _______________________________________________________
                  Firm

                              1901 L Street NW
                  _______________________________________________________
                  New Address


                   Washington, DC 20036
                  _______________________________________________________
                  City, State, Zip Code


                   202.721.5406
                   ___________ _________________________________________
                   Telephone


                   202.912.4701______________
                  _______________________________________________________
                  Facsimile Number

                   radcox@axinn.com
                  _______________________________________________________
                  Internet E-mail Address
  6:20-md-02977-RJS-CMR Document 80 Filed in ED/OK on 05/06/21 Page 2 of 2




                                         Certificate of Service
         X I hereby certify that on (date) May 6, 2021                 , I electronically transmitted the

attached document to the Clerk of Court using the ECF System for filing. Based on the records currently on

file, the Clerk of Court will transmit a Notice of Electronic Filing to the following ECF registrants: (insert names)

 All counsel of record.




        _____ I hereby certify that on (date) _________________, I served the attached document by

(service method) __________________________________________________________ on the

following, who are not registered participants of the ECF System: (insert names and addresses)




                                                           s/ Rachel J. Adcox
                                                           s/ Attorney Name
